                       EXHIBIT B




Case 3:23-cv-00431   Document 267-2   Filed 11/06/24   Page 1 of 4 PageID #: 4834
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                                        September 26, 2024


VIA EMAIL
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       Re: Allergan, Inc. et al. v. Revance Therapeutics, Inc., No. 3:23-cv-00431 | Response to
           September 25 Letter Concerning September 16 Order Granting in Part Revance’s
           Motion to Compel

Dear Andrea:

        This letter responds to Allergan’s September 25, 2024 letter concerning the Court’s order
granting in part Revance’s Motion to Compel. ECF No. 204. From the letter, it appears Allergan
wants to reopen issues the Court’s order resolved under the guise of seeking to “clarify Revance’s
position.” Revance’s “position” is not only clear, it has been litigated, with the Court ordering
Allergan to produce documents and to supplement answers to Interrogatory Nos. 3 and 12 no later
than September 30. Revance expects Allergan will comply fully with the Court’s order.
         Additionally, Allergan’s “plan” with respect to RFP 32 does not comply with the Court’s
order. RFP 32 seeks “All documents concerning the departure from Allergan of any former
Allergan employee listed in Appendix I.” Allergan states it has “already produced personnel files
of the former Allergan employees listed in Appendix I . . . .” That production is not sufficient. RFP
32 does not seek just the personnel files of these employees; it seeks all documents concerning the
departure from Allergan of these employees. This includes, for example, email correspondence
about a reduction in force to the extent an employee’s separation occurred due to a reduction in
force. It also includes email traffic discussing an employee’s termination, to the extent an
employee was terminated. The Court’s order does not narrow RFP 32 in any way, much less limit
it to an employee’s personnel file. Indeed, the Court expressly rejected Allergan’s argument in this
regard, “find[ing] that information about the departure from Allergan of those employees that
Allergan has identified as having left Allergan for Revance is relevant to the claims and defenses
in this matter.” ECF No. 204 at 13
      Concerning RFPs 33-36, Allergan writes cryptically that it has “already produced
documents responsive to RFPs 33-36.” The letter, however, does not say Allergan has produced



Case 3:23-cv-00431        Document 267-2         Filed 11/06/24      Page 2 of 4 PageID #: 4835
Andrea Pallios Roberts
September 26, 2024
Page 2

all responsive documents as ordered by the Court. Specifically, the Court held that, “to the extent
that any nonprivileged documents that are responsive to these RFP[s, i.e., 33-36] are within
Allergan’s possession, custody, or control, Allergan must produce them to Revance.” ECF No.
204 at 13-14 (emphasis added).
        The Court also granted Revance’s Motion to Compel with respect to RFP Nos. 45, 46, 47,
48, 49, 50, 51, and 54. Yet again, Allergan’s stated plan does not comply with the Court’s order.
The Court did not limit its scope to any particular set of search terms. In fact, Allergan proposed
the search terms while maintaining objections to producing documents responsive to 45-51 and
54. In other words, the search terms were agreed to by Allergan at the same time Allergan refused
to produce all documents responsive to RFP Nos. 45-51 and 54. The Court overruled Allergan’s
objections and ordered Allergan to produce all the responsive documents. And, in any event, the
temporal limitations, search terms, and custodians Allergan proposes are wholly insufficient to
satisfy Allergan’s obligations to comply with the Court’s order concerning RFP Nos. 45-51 and
54.
       First, with respect to proposed temporal limitations, Allergan says it intends to search only
for documents from January 1, 2018 to present. Yet the Court ordered Allergan to produce
documents from January 1, 2015 (RFPs 46, 47, 50, 51). Allergan’s proposed terms would not
capture three years of data the Court has ordered Allergan to locate and produce.
        Second, with respect to the keywords, Allergan’s proposed search terms are deficient. As
one example, the Court ordered Allergan to produce “All documents from January 1, 2015 to
present concerning Revance, Revance’s product offerings, or Revance’s market share” (RFP 47).
But Allergan’s proposal would only capture the word Revance if it happened to fall within 50
words of market OR compet* OR sale*. There is no reason to believe such a search would capture
the documents the Court ordered produced. As another example, the Court ordered Allergan to
produce “All documents from January 1, 2019 to present concerning Daxxify
(DaxibotulinumtoxinA-lanm)” (RFP 48). Allergan’s proposal would only capture the word
Daxxify or Dax* if it happened to fall within 50 words of (market OR compet* OR sale*). So, if
an Allergan executive wrote an email stating “Daxxify will negatively affect Allergan and Botox,”
the search would not capture such an email. This is plainly deficient.
       Third, regarding custodians, Allergan’s proposal is deficient and does not comply with the
Court’s Order. Allergan has refused to run at least one appropriate custodian for these types of
searches (i.e., David Moatazedi). And Allergan has not identified other appropriate custodians for
these searches, including without limitation, Carrie Strom, Senior Vice President, AbbVie and
President, Global Allergan Aesthetics. Allergan’s proposed custodian list also omits individuals
who indisputably exchanged emails regarding Revance and Daxxify, including Moulakshi
Roychowdhury, Pharm.D., J.D., who sent a letter to the FDA concerning the alleged misbranding
of DAXXIFY by Revance Therapeutics, Inc. See ALGN-MDTENN_1813485.
        As for RFP Nos. 50, 51, and 54, Allergan writes that it “has completed its production,” and
refers to a production Allergan made in June (i.e., before the Court’s order). In response to



Case 3:23-cv-00431        Document 267-2        Filed 11/06/24      Page 3 of 4 PageID #: 4836
Andrea Pallios Roberts
September 26, 2024
Page 3

Revance’s Motion to Compel, Allergan only agreed to produce “communications with the FDA
about Revance as it relates to Daxxify.” E.g., ECF No. 180 at 13. Allergan cites three documents
it says are responsive to these three RFPs—ALGN-MDTENN_1813485, ALGN-
MDTENN_1813486, ALGN-MDTENN_1813498, ALGN-MDTENN_1813499. Each document
was sent in 2023. RFPs 50 and 51 include a temporal limitation from January 1, 2015 to present.
Is Allergan certifying it does not possess any responsive documents predating 2023? If not, it must
produce the additional responsive documents dating back to 2015. If it is so certifying, Allergan
must do so in writing and unequivocally in its supplemental response.
        Concerning Category 3 documents, Allergan asks Revance to “explain what documents or
types of documents Revance believes are missing from Allergan’s productions and/or searches.”
This flips the onus of compliance with the Court’s Order. It is impossible for Revance to know
what exists but Allergan has not produced. Based on Allergan’s letter, however, it is clear
Allergan’s planned course will not satisfy the Court’s Order.
       In sum, Revance expects Allergan to comply with the Court’s Order in full. Revance will
not ex post facto agree to any limitations on the scope of the Order absent some extremely
compelling justification that Allergan has yet to offer. Should Allergan not comply with the
Court’s Order, Revance reserves the right to seek all appropriate relief from the Court. See, e.g.,
FED. R. CIV. P. 37(b)(2).
                                                         Very truly yours,

                                                         /s/ Gregory S. Bombard

                                                         Gregory S. Bombard

cc: counsel of record
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Case 3:23-cv-00431        Document 267-2        Filed 11/06/24     Page 4 of 4 PageID #: 4837
